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                            IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF PUERTO RICO


          IN RE:                                            CASE NO. 17-01713-ESL

          ALEXIS RAMIREZ ROSADO
                                                            CHAPTER 13
          Debtor(s)

          BANCO POPULAR DE PUERTO RICO
                                                                   INDEX
                   Movant(s)

          ALEXIS RAMIREZ ROSADO

                   Respondent(s)

                               MOTION FOR RELIEF OF AUTOMATIC STAY

        TO THE HONORABLE COURT:

              Comes now, secured creditor BANCO POPULAR DE PUERTO RICO (“BPPR”),

        through its undersigned counsel and very respectfully states and prays:

              1.         On March 14, 2017, Debtor filed his Voluntary Petition seeking relief under

        Chapter 13 of the Bankruptcy Code.

              2.         Debtor is the owner in fee simple of the real property described in the

        Spanish Language as follows:

                      “URBANA: Solar radicado en la Urbanización Santa Rosa, situada
              en el Barrio Juan Sánchez de Bayamón, Puerto Rico, que se describe en el
              plano de inscripción de la urbanización, con el área y colindancias que se
              relacionan a continuación: Número el solar 17 de la manzana 28, con el
              área del solar de 315.00 metros cuadrados. En lindes: por el Norte, con el
              solar número 18, distancia de 21.00 metros; por el Sur, con el solar número
              16, distancia de 21.00 metros; por el Este, con el solar número 10, distancia
              de 15.00 metros; y por el Oeste, con la calle número 13, distancia de 15.00
              metros. Contiene una casa de concreto para una familia.” Recorded at
              page 246 of Book 416 de Bayamon, Registro de Bayamon, Seccion I.
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                3.     The   above     described    property    is   encumbered      with   a     First

        Mortgage constituted by virtue of Deed number 80, executed on February 18, 1997,

        before notary public Rafael F. Morales Cabranes, recorded in the Registry of the Property

        of Puerto Rico, Bayamón Section, at page 253 of book 1519 of Bayamón, property number

        18,849, 12th recording; to guarantee a Mortgage Promissory Note issued by the realty

        former owners in favor of Popular Mortgage, Inc., or its order, in the principal amount of

        $95,258.00, with interests at the rate of 7 ½% per annum, (See Exhibits “A”, “B” and

        “C” hereto.)

               4.        BPPR submits that at present, it is the holder in due course of the above

        described Promissory Note, which as of May 9, 2017, has a payoff balance of

        $161,967.87. (See Exhibit "D" hereto.)

               5.        BPPR submits that, Debtor has been owning the above described realty

        without making regular payments to BPPR and without establishing a Debtor/Creditor

        relationship with BPPR and without providing any adequate protection to BPPR's security

        interest.

               6.      At present, BPPR's only remedy to collect the amounts owed, is to continue

        with foreclosure proceedings before the local courts.

               7.        Section 362(d)(1) and (2) of the Bankruptcy Code (11 U.S.C. §362(d)(1)

        and (2)) reads as follows:

                       “(d)    On request of a party in interest and after notice and a hearing, the
               court shall grant relief from the stay provided under subsection (a) of this section,
               such as by terminating, annulling, modifying, or conditioning such stay –
                            (1) for cause, including the lack of adequate protection of an interest in
                      property of such party in interest;
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               8.         BPPR submits that in the case at hand, Debtor's failure to continue

        making regular payments to BPPR without establishing a Debtor/Creditor relationship

        with BPPR and without providing adequate protection to BPPR'S security interest,

        warrants the issuance of an order lifting of the automatic stay in favor of BPPR.

               9.       BPPR submits that Debtor is not entitled to the protections of the

        Servicemembers Civil Relief Act of 2003. (See Exhibit “E” hereto.)

                WHEREFORE, it is respectfully prayed that BPPR be granted Relief from the

        Automatic Stay pursuant to 11 U.S.C. §362(d)(1) and be authorized to foreclose upon its

        collateral, with such other and further relief as this Court deems just and proper.

                Ponce, Puerto Rico, this 11th day of May, 2017.

                                                          s/ Carlos G. Batista Jiménez
                                                          Carlos G. Batista-Jiménez
                                                          USDC-PR 206711
                                                          PO Box 331150
                                                          Ponce, Puerto Rico 00733-1150
                                                          Tel. (787) 843-3404 (787) 840-7435
                                                          Fax (787) 843-3431
                                                          Email: lcdobatista@frauyasoc.com


                                 NOTICE TO ALL INTERESTED PARTIES
               Within fourteen (14) days after service as evidenced by the certification, and an
        additional three (3) days pursuant to Fed. R. Bank. P. 9006(f) if you were served by mail,
        any party against whom this motion has been served, or any other party to the action who
        objects to the relief sought herein, shall serve and file an objection or other appropriate
        response to this paper with the Clerk’s Office of the U.S. Bankruptcy Court for the District
        of Puerto Rico. If no objection or other response is filed within the time allowed herein, the
        motion will be deemed unopposed and may be granted unless: (i) the requested relief is
        forbidden by law; (ii) the requested relief is against public policy; or (iii) in the opinion of the
        Court, the interest of justice requires otherwise.
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              Ponce, Puerto Rico, this 11th day of May, 2017.

                                                   s/ Carlos G. Batista Jiménez
                                                   Carlos G. Batista-Jiménez
                                                   USDC-PR 206711
                                                   PO Box 331150
                                                   Ponce, PR 00733-1150
                                                   Tel. (787) 843-3404 (787) 840-7435
                                                   Fax (787) 843-3431
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                                                ESTUDIO DE TITULO
               CASO PARA                     : CARLOS R. SOSA PADRO LAW OFFICES                                                




               CASO NUMERO                   : 1295.040

               REFERENTE                     : HECTOR NAZARIO CORTES

               FINCA NUMERO                  : 18,849, Inscrita al Folio 246 del Tomo 416 de Bayamón.
                                               Registro de Bayamón, Sección I.

               DESCRIPCIÓN:
               URBANA: Solar radicado en la Urbanización Santa Rosa, situada en el Barrio Juan Sánchez de
               Bayamón, Puerto Rico, que se describe en el plano de inscripción de la urbanización, con el área y
               colindancias que se relacionan a continuación: Número del solar 17 de la Manzana 28, con el área del
               solar de 315.00 metros cuadrados. En lindes: por el Norte, con el solar número 18, distancia de 21.00
               metros; por el Sur, con el solar número 16, distancia de 21.00 metros; por el Este, con el solar
               número 10, distancia de 15.00 metros; y por el Oeste, con la calle número 13, distancia de 15.00
               metros. Contiene una casa de concreto para una familia.


               TRACTO:
               Se segrega de la finca número 15065, inscrita al folio 106 del tomo 340 de Bayamón, a favor de
               Centex International, Inc.


               DOMINIO:
               Consta inscrita a favor de ALEXIS RAMÍREZ ROSADO y su esposa, ELSIE ENID BERRIOS
               SALGADO, quienes adquieren por compra a Ana López Rodríguez, también conocida como Ana
               Octavia López Rodríguez, su esposo, Héctor Rafael Nazario Cortez y Glenda Rose Nazario López
               (soltera), por la suma de $114,888.79, según escritura número 4, otorgada en Bayamón, el 28 de
               marzo de 2006, ante el notario José Rafael Lebrón Durán. Inscrita al Tomo Karibe de Bayamón.
               Inscripción décimo tercera.


               GRAVÁMENES:
                      Afecta por su procedencia a:
               Servidumbres a favor de Autoridad de Acueductos y Alcantarillados, Autoridad de Fuentes Fluviales,
               Puerto Rico Telephone Company, Condiciones Restrictivas de Edificación, Puerto Rico Railway
               Light & Power Company, de alcantarillado para beneficio del Hospital de Distrito de Bayamón,
               Mención de un camino que dá acceso a la Carretera Insular número 2; Mantenimiento y Uso de un
               camino, de aguas pluviales a favor del Municipio de Bayamón.


                      Por sí a:


               HIPOTECA:
               Constituida por Glenda Rose Nazario López hoy casada con Luis Cruz Maldonado y Ana López
               Rodríguez y su esposo, Héctor Nazario Córtes, en garantía de un pagaré a favor de POPULAR
               MORTGAGE, INC., o a su orden, por la suma de $91,258.00, con intereses al 7 1/2% anual, y
               vencedero el 1 de marzo de 2027, según escritura número 80, otorgada en San Juan, a 18 de febrero
               de 1997, ante el notario Rafael F. Morales Cabranes. Inscrita al folio 253 del tomo 1519 de Bayamón.
               Inscripción duodécima.
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               EMBARGO FEDERAL:
               Anotada contra Alexis Ramírez, seguro social XXX-XX-0655, por la suma de $231,569.22, según
               notificación número 415772508, presentada el 25 de febrero de 2008, al asiento 3 del diario 68 del
               Libro de Embargos Federales número 8.


               AVISO DE DEMANDA:
               Pleito seguido por Banco Popular de Puerto Rico vs. Alexis Ramírez Rosado también conocido
               como Alexis Ramírez y su esposa, Elsie E. Berrios Salgado también conocida como Elsie Enid
               Berrios Salgado y como Elsie E. Berrios, ante el Tribunal de Primera Instancia, Sala Superior de
               Bayamón, en el caso civil número DCD 13-2003 (502), sobre cobro de dinero y ejecución de
               hipoteca, en la que se reclama el pago de hipoteca, con un balance de $79,064.01 y otras cantidades,
               según Demanda de fecha 22 de julio de 2013. Anotada al Tomo Karibe de Bayamón. Anotacion A.


               REVISADOS: Libro de Embargos, Sentencias, Embargos Federales y Bitácora Eléctronica, a 1 de
               noviembre de 2016.

                                                                               L.J.N. TITLE SEARCH COMPANY INC.
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               ADVERTENCIA: El presente informe representa la realidad registral según la información contenida en los Registros
               Oficiales del Registro de la Propiedad. La bitácora electrónica no es un libro oficial del Registro, por lo tanto no somos
               responsables de errores u omisiones en su contenido.
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